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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:04CR337
                      Plaintiff,             )
                                             )
       vs.                                   )                ORDER
                                             )
TAMARA SHEFFIELD,                            )
                                             )
                      Defendant.             )

       At the initial appearance of the defendant on the charges contained in the petition on file,
the United States moved to detain the defendant without bail pending disposition on the basis
that she was a flight risk and a danger to the community. At the time of her initial appearance
before the court, the defendant was in the custody of Nebraska state authorities on state
charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Tamara Sheffield pursuant to the Bail Reform
Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Tamara Sheffield, having received notice of her return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Tamara Sheffield,
to the custody of Nebraska state authorities pending the final disposition of this matter and the
U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 11th day of January, 2008.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
